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 7

 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
      UNITED FINANCIAL CASUALTY                Case No.:
11    COMPANY,
                                               COMPLAINT FOR
12                        Plaintiff,           DECLARATORY RELIEF AND
                                               REIMBURSEMENT
13                vs.
14    HAPPY FRUIT EXPRESS INC., a
      California corporation, YONGXU LI,
15    an individual, and FANGMING
      ZHANG, an individual
16
                          Defendants.
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           COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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 1

 2        1.        This is an insurance coverage action regarding an underlying lawsuit
 3   pending before the California Superior Court for the County of Los Angeles, styled
 4   Fangming Zhang v. Happy Fruit Express, et al., Los Angeles Sup. Ct. Case No.
 5   24PSCV03311                                    . The Underlying Action arises out of a
 6   single-vehicle accident that                                                     allegedly
 7   caused injuries to defendant Fangming Zhang                  , who was a passenger in
 8   the vehicle.                                      s driving at the time of the accident.
 9                                                                      and employed Zhang
10   and Li. The underlying complaint is attached as Exhibit 1.
11        2.                                                          United Financial
12   issued a commercial auto policy to Happy Fruit                     . The Policy insured
13   Happy Fruit for bodily injury or property damage arising from the ownership,
14   maintenance, or use of insured autos,
15   conditions. The Policy excludes coverage for bodily injury to
16   employees when such injuries arise in connection with that employment. The
17   Policy also excludes coverage for any obligation for which an insured may be held
18                                               Relevant portions of the Policy are
19   attached here as Exhibit 2.
20        3.        United Financial is defending Happy Fruit in the Underlying Action
21   under a reservation of rights, including the rights to seek declaratory relief
22   regarding its coverage obligations and reimbursement of all amounts paid in the
23   defense of uncovered claims.
24        4.        United Financial brings this lawsuit against Happy Fruit, Li, and Zhang
25   to seek a judicial declaration
26   the Policy.
27

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           COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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 2        5.       Jurisdiction. This is a civil action between citizens of different states
 3   and the amount in controversy exceeds $75,000, exclusive of costs and interest.
 4   This Court has diversity jurisdiction under 28 U.S.C. § 1332. Additionally, this
 5   Court has jurisdiction for providing declaratory relief under 28 U.S.C. § 2201.
 6        6.       Venue. Venue is proper in the United States District Court for the
 7   Central District of California pursuant to 28 U.S.C. § 1391 because United
 8   Financial is informed and believes that defendants Happy Fruit, Li, and Zhang are
 9   all located in the Central District of California.
10        7.       An actual controversy exists regarding the rights, duties, and
11   obligations of the parties regarding liability coverage for defendants Happy Fruit
12   and Li regarding the claims brought by Zhang, under the commercial auto policy
13   that United Financial issued to Happy Fruit.
14

15        8.       Plaintiff United Financial is an Ohio corporation, with its principal
16   place of business in Ohio.
17        9.       United Financial is informed and believes, and based thereon alleges
18   that defendant Happy Fruit is a California corporation, with its principal place of
19   business in California.
20        10.      United Financial is informed and believes, and based thereon alleges
21   that defendant Li is a natural person and resident of Los Angeles County,
22   California.
23        11.      United Financial is informed and believes, and based thereon alleges
24   that defendant Zhang is a natural person and resident of Los Angeles County,
25   California.
26

27        12.      United Financial is informed and believes, and based thereon alleges,
28   that Happy Fruit is a motor carrier subject to the Motor Carrier Act of 1980 and the
                                                 3
           COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
Case 2:25-cv-00094-SSC    Document 1      Filed 01/04/25   Page 4 of 64 Page ID #:4



 1   rules and regulations of the Federal Motor Carrier Safety Administration.
 2        13.    United Financial is informed and believes, and based thereon alleges,
 3   that Li was driving a 2019 Freightliner Cascadia registered to Happy Fruit at the
 4   time of the Incident, which occurred on the Interstate-10 in New Mexico.
 5        14.    United Financial is informed and believes, and based thereon alleges,
 6   that Li and Zhang were working as tandem drivers for Happy Fruit at the time of
 7   the Incident and doing a subhaul from Ontario, California to Atlanta, Georgia.
 8        15.    United Financial issued and underwrote a commercial automobile
 9   policy to Happy Fruit, Policy No. 02862053, effective November 3, 2023 to
10   November 3, 2024. (Exhibit 2.)
11        16.    The Policy states, in pertinent part:
12        INSURING AGREEMENT-LIABILITY TO OTHERS
13
          Subject to the Limits of Liability, if you pay the premium for liability
14        coverage for the insured auto involved, we will pay damages, other
          than punitive or exemplary damages, for bodily injury, property
15
          damage, and covered pollution cost or expense for which an
16        insured becomes legally responsible because of an accident arising
          out of the ownership, maintenance or use of that insured auto.
17
          However, we will only pay for the covered pollution cost or
18        expense if the same accident also caused bodily injury or property
          damage to which this insurance applies.
19

20        We will settle or defend, at our option, any claim or lawsuit for
          damages covered by this Part I. We have no duty to settle or defend
21
          any lawsuit, or make any additional payments, after the Limit of
22        Liability for this coverage has been exhausted by payment of
          judgments or settlements.
23

24        ***
25        EXCLUSIONS PLEASE READ THE FOLLOWING EXCLUSIONS
          CAREFULLY. IF AN EXCLUSION APPLIES, COVERAGE FOR AN
26
          ACCIDENT OR LOSS WILL NOT BE AFFORDED UNDER THIS
27        PART I LIABILITY TO OTHERS.
28

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           COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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 1        Coverage under this Part I, including our duty to defend, does not apply to:
 2        ***
 3              3.
 4                   Any obligation for which an insured or an insurer of that insured,
 5                   even if one does not exist, may be held liable under
 6                   compensation, unemployment compensation, disability benefits law,
 7                   or any similar law.
 8                   ***
 9              5.
10               Bodily injury to:
11                       a. An employee of any insured arising out of or within the
12                       course of:
13                             (i) That              employment by any insured; or
14                             (ii) Performing duties related to the conduct of any
15                                         business; or
16                       b. The spouse, child, parent, brother or sister of that employee
17                       as a consequence of Paragraph a. above.
18                       This exclusion applies:
19                       a. Whether the insured may be liable as an employer or in any
20                       other capacity; and
21                       b. To any obligation to share damages with or repay someone
22                       else who must pay damages because of the injury.
23                       ***
24              6. Fellow Employee
25               Bodily injury to:
26                       a. a fellow employee of an insured injured while within the
27                       course of their employment or while performing duties related to
28                       the conduct of your business.
                                                5
           COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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 1                        ***
 2        17.                                                            liability coverage
 3   section contains the following relevant definitions:
 4
                    ADDITIONAL DEFINITIONS USED IN THIS PART ONLY
 5
                    A.    When used in Part I    Liability To Others, insured means:
 6
                          1.      You with respect to an insured auto.
 7
                          2.      Any person while using, with your permission, and within
 8
                          the scope of that permission, an insured auto you own, hire, or
 9
                          borrow . . .
10
                          ***
11

12        18.
13   definitions:
14                                       GENERAL DEFINITIONS
15        The words and phrases below, whether in the singular, plural or
16        possessive, have the following special meanings when appearing in
          boldface type in this policy, and in endorsements issued in connection
17        with this policy, unless specifically modified.
18
          ***
19

20           5.      Employee             leased worker and a statutory employee.
                    Employee does not include a temporary worker.
21

22                  ***
23
            20.      We us          our
24                  shown on the declarations page.
25
            21.      You your          yours
26                  declarations page.
27
                    ***
28

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           COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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 1           19.   United Financial is informed and believes, and based thereon alleges
 2    that, defendants Li and Zhang are             employee as defined under the Policy,
 3    which includes                        . (Exhibit 2).
 4           20.   United Financial is informed and believes, and based thereon alleges
 5    that, Li and Zhang are statutory employees under the Federal Motor Carrier Safety
 6    Regulations                                49 C.F.R. § 383.5; 49 C.F.R. § 390.5.
 7           21.   United Financial is informed and believes, and based thereon alleges
 8    that                                                           under governing
 9    California law for
10    including
11    Dynamex Operations W. v. Superior Ct., 4 Cal. 5th 903, 914 (2018) and California
12    Labor Code § 2750.3.
13

14            FOR DECLARATORY RELIEF RE: DEFENSE AND INDEMNITY
15           22.   United Financial re-alleges and incorporates by this reference all
16    proceeding paragraphs above, in their entirety, as though fully set forth herein.
17           23.   An actual controversy has arisen and now exists between United
18    Financial, on the one hand, and Happy Fruit, Li, and Zhang, on the other hand,
19    concerning the availability of coverage under the Policy in connection with the
20    Underlying Action and/or the conduct alleged therein.
21           24.   The plain language of the Policy excludes coverage for injuries to
22    workers that could be classified as employees.
23           25.   U
24

25    independent contractors, defendants Li and Zhang are                   employees.
26           26.   For these reasons, United Financial contends that it has no duty to
27    defend Happy Fruit or Li in connection with any claim made by Zhang for
28    damages, or any judgment obtained in the Underlying Action.
                                                7
             COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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 3          27.    United Financial re-alleges and incorporates by this reference all
 4     preceding paragraphs above, in their entirety, as though fully set forth herein.
 5          28.    In its correspondence agreeing to defend Happy Fruit and Li in the
 6     Underlying Action, United Financial reserved rights under the Policy, including
 7     the right to seek reimbursement of all amounts paid in the defense of uncovered
 8     claims.
 9          29.    United Financial has paid attorney fees and other related costs for the
10     defense of the Underlying Action.
11          30.    United Financial asserts that all these costs were incurred for the
12     defense of uncovered claims.
13          31.
14     decisions in Buss v. Superior Court, 16 Cal. 4th 35 (1997) and Scottsdale Ins. Co.
15     v. MV Transportation, 36 Cal. 4th 643 (2005), United Financial is entitled to
16     recover the amounts it expended in the defense of uncovered claims in an amount
17     to be proven at trial.
18   ///
19   ///
20   ///
21   ///
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
                                                  8
             COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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 2        Wherefore, United Financial prays for relief as follows:
 3        1.    On its First Claim for Relief, for Declaratory Relief, for a judicial
 4              declaration that United Financial does not owe any duty to defend or
 5              indemnify Happy Fruit Express or Yongxu Li in connection with any
 6              claim made by Fangming Zhang for damages, or any judgment
 7              obtained in the Underlying Action.
 8        2.    On its Second Claim for Relief, for Reimbursement, for an order that
 9              United Financial is entitled to recover the amounts it expended in the
10              defense of uncovered claims in an amount to be proven at trial.
11        3.    For pre-judgment and post-judgment interest.
12        4.    For costs of suit herein.
13
     Dated: January 2, 2025                   SINCLAIR BRAUN KARGHER LLP
14

15
                                              By: /s/-Nathaniel S.G. Braun
16
                                                 NATHANIEL S.G. BRAUN
17
                                                 MARK A. TALISE
                                                 Attorneys for Insurer
18
                                                 UNITED FINANCIAL CASUALTY
                                                 COMPANY
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           COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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                   EXHIBIT 2
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                                                   COMMERCIAL ONE INS
                                                   1601 BAYSHORE HWY#339
                                                   BURLINGAME, CA 94010


                                                   Named insured                                                                                                                                        Policy number: 02862053
                                                                                                                                                                                                               Underwritten by:
                                                                                                                                                                                                               United Financial Cas Co
                                                                                                                                                                                                               June 3, 2024
                                                   HAPPY FRUIT EXPRESS                                                                                                                                         Policy Period: Nov 3, 2023 - Nov 3, 2024
                                                   2419 E MARDINA ST                                                                                                                                           Page 1 of 5
                                                   WEST COVINA, CA 91791
                                                                                                                                                                                                        agent.progressive.com
                                                                                                                                                                                                               Online Service
                                                                                                                                                                                                               Make payments, check billing activity, print
                                                                                                                                                                                                               policy documents, update your policy or
                                                                                                                                                                                                               check the status of a claim.
                                                                                                                 Commercial Auto                                                                        1-650-652-9988

                                                                                                                 Insurance Coverage Summary                                                                    COMMERCIAL ONE INS
                                                                                                                                                                                                               Contact your agent for personalized service.

                                                                                                                 This is your Declarations Page                                                         1-800-444-4487
                                                                                                                                                                                                               For customer service if your agent is
                                                                                                                 Your coverage has changed                                                                     unavailable or to report a claim.




                                                                                                                 Your coverage began on November 3, 2023 at 12:01 a.m. This policy expires on November 3, 2024 at 12:01 a.m.
                                                                                                                 This coverage summary replaces your prior one. Your insurance policy and any policy endorsements contain a full explanation of your
                                                                                                                 coverage. The policy limits shown for an auto may not be combined with the limits for the same coverage on another auto, unless the
                                                                                                                 policy contract allows the stacking of limits. The policy contract is form 6912 (02/19). The contract is modified by forms 2852CA
                                                                                                                 (02/19), 4757 (02/19), Z434 (02/19), MCS90 (99/99), MC1632 (06/04), 1303CA (05/21), 1198 (07/16), Z439 (02/19), 4852CA
                                                                                                                 (02/19), 4881CA (02/19) and Z228 (01/11).
                                                                                                                 The named insured organization type is a corporation.

                                                   Policy changes effective May 31, 2024
                                                                                                                 ………………………………………………………………………………………………………………………………………………………..
                                                                                                                 Changes processed on:                                   May 31, 2024 9:27 p.m.
                                                                                                                 ………………………………………………………………………………………………………………………………………………………..
                                                                                                                 Premium change:
                                                                                                                 ………………………………………………………………………………………………………………………………………………………..
                                                                                                                 Changes:                                                WENJIE WU has been removed from the policy.

                                                                                                                 The changes shown above will not be effective prior to the time the changes were requested.




                                                                                                                                                                                                                                                            4
                                                                                                                                                                                                                                                       Continued
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                                                                                                                                                                                                                        Policy number: 02862053
                                                                                                                                                                                                                             HAPPY FRUIT EXPRESS
                                                                                                                                                                                                                                     Page 2 of 5

                                                   Outline of coverage

                                                                                  Auto coverage part
                                                                                                                 Description             Limits                 Deductible Premium
                                                                                                                 ………………………………………………………………………………………………………………………………………………………..
                                                                                                                 Liability To Others
                                                                                                                   Bodily Injury and Property Damage Liability
                                                                                                                 ……………………………………………………
                                                                                                                 Uninsured/Underinsured
                                                                                                                 ……………………………………………………
                                                                                                                                           Motorist
                                                                                                                 Uninsured   Motorist Property Damage
                                                                                                                 ……………………………………………………
                                                                                                                 Medical   Payments
                                                                                                                 ……………………………………………………
                                                                                                                 Comprehensive
                                                                                                                   See Auto Coverage Schedule
                                                                                                                 ……………………………………………………
                                                                                                                 Collision
                                                                                                                   See Auto Coverage Schedule
                                                                                                                 ……………………………………………………
                                                                                                                 Non-Owned Trailer Physical Damage
                                                                                                                 ……………………………………………………
                                                                                                                 Subtotal policy premium

                                                                                  Motor Truck Cargo coverage part
                                                                                                                 Description                                        Limits                                              Deductible       Premium
                                                                                                                 ………………………………………………………………………………………………………………………………………………………..
                                                                                                                 Motor Truck Cargo
                                                                                                                 …………………………………………………………
                                                                                                                 Subtotal policy premium
                                                                                                                 …………………………………………………………
                                                                                                                 Additional Insured Fee
                                                                                                                 …………………………………………………………
                                                                                                                 California Vehicle Assessment Fee
                                                                                                                 …………………………………………………………
                                                                                                                 Total 12 month policy premium and fees

                                                   Important information about fees
                                                                                                                 You have paid installment fees of $48.00 on this policy. An additional installment fee of $6.00 has been included in each
                                                                                                                 remaining payment. You may reduce the amount you pay in installment fees by paying your premium in larger amounts
                                                                                                                 and fewer installments. Please call your agent for details.
                                                                                                                 The following additional fees may apply:
                                                                                                                 Late payment fee $10.00
                                                                                                                 Fee for returned checks or refused payments $20.00
                                                   Rated and Excluded drivers
                                                   Important information regarding excluded drivers
                                                                                                                 If any drivers are shown as excluded drivers, then you agree that there is no coverage under any parts of this policy, for
                                                                                                                 any accidents or loss arising out of the operation of any motor vehicles by the excluded drivers.
                                                                                                                                                                    Additional information
                                                                                                                       …………………………………………………………………………………………………………………………………………………..
                                                                                                                  1. JINLONG HUANG                                  Excluded
                                                                                                                       …………………………………………………………………………………………………………………………………………………..
                                                                                                                  2. QIANG WANG
                                                                                                                       …………………………………………………………………………………………………………………………………………………..
                                                                                                                  3. LONGFEI YU
                                                                                                                       …………………………………………………………………………………………………………………………………………………..
                                                                                                                  4. YAOWEN ZHENG
                                                                                                                       …………………………………………………………………………………………………………………………………………………..
                                                                                                                  5. YONGXU LI
                                                                                                                       …………………………………………………………………………………………………………………………………………………..
                                                                                                                  6. FANGMING ZHANG
                                                                                                                       …………………………………………………………………………………………………………………………………………………..
                                                                                                                  7. YUTAO ZHONG
                                                                                                                       …………………………………………………………………………………………………………………………………………………..
                                                                                                                  8. ZENG YANG



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                                                                                                                                                                                                      Policy number: 02862053
                                                                                                                                                                                                           HAPPY FRUIT EXPRESS
                                                                                                                                                                                                                   Page 3 of 5

                                                   Rated commodities
                                                                …………………………………………………………………………………………………………………………………………………..
                                                                                                                  1. OTHER CONSUMER GOODS
                                                                                                                     …………………………………………………………………………………………………………………………………………………..
                                                                                                                  2. CANNED  GOODS
                                                                                                                     …………………………………………………………………………………………………………………………………………………..
                                                                                                                  3. ELECTRICAL EQUIPMENT
                                                                                                                     …………………………………………………………………………………………………………………………………………………..
                                                                                                                  4. CONTAINERIZED FREIGHT

                                                   Auto coverage schedule
                                                                                     1.                          2017 FRHT 125 Stated Amount:
                                                                                                                 VIN: 3AKJGLDRXHSHZ6762 Garaging Zip Code: 91801 Radius: More than 500 miles
                                                                                                                 Personal use: N Body type: Truck Tractor
                                                                                                                           Liability    UM/UIM       Med Pay
                                                   Liability                                                              Premium Premium Premium
                                                                                                                          ………………………………………………………………………………………………………………………………………………
                                                   Premium

                                                                                                                           Comp         Comp         Collision    Collision
                                                   Physical Damage                                                         Deductible   Premium      Deductible   Premium
                                                                                                                          ………………………………………………………………………………………………………………………………………………
                                                                                                                                                                                                                     Auto Total
                                                   Premium

                                                                                     2.                          2030 Non-owned Attached Trailer **
                                                                                                                 VIN: None Garaging Zip Code: 91791 Radius: More than 500 miles
                                                                                                                 Personal use: N Body type: 20
                                                                                                                           Liability
                                                   Liability                                                              Premium                                            Auto Total
                                                                                                                          ………………………………………………………………………………………………………………………………………………
                                                   Premium

                                                                                     3.                          2017 FREIGHTLINER CASCADIA 125 Stated Amount:
                                                                                                                 VIN: 3AKJGLDR7HSHR5956 Garaging Zip Code: 91801 Radius: More than 500 miles
                                                                                                                 Personal use: N Body type: Truck Tractor
                                                                                                                           Liability    UM/UIM       Med Pay
                                                   Liability                                                              Premium Premium Premium
                                                                                                                          ………………………………………………………………………………………………………………………………………………
                                                   Premium

                                                                                                                           Comp         Comp         Collision    Collision
                                                   Physical Damage                                                        Deductible Premium Deductible Premium              Auto Total
                                                                                                                          ………………………………………………………………………………………………………………………………………………
                                                   Premium

                                                                                     4.                          2030 Non-owned Attached Trailer **
                                                                                                                 VIN: None Garaging Zip Code: 91801 Radius: More than 500 miles
                                                                                                                 Personal use: N Body type: 20
                                                                                                                           Liability
                                                   Liability                                                              Premium                                            Auto Total
                                                                                                                          ………………………………………………………………………………………………………………………………………………
                                                   Premium

                                                                                     5.                          2017 FREIGHTLINER CASCADIA 125 Stated Amount: *
                                                                                                                 VIN: 3AKJGLDR4HSHR5722 Garaging Zip Code: 91801 Radius: More than 500 miles
                                                                                                                 Personal use: N Body type: Truck Tractor
                                                                                                                           Liability    UM/UIM       Med Pay
                                                   Liability                                                              Premium Premium Premium
                                                                                                                          ………………………………………………………………………………………………………………………………………………
                                                   Premium

                                                                                                                           Comp         Comp         Collision    Collision
                                                   Physical Damage                                                        Deductible Premium Deductible Premium              Auto Total
                                                                                                                          ………………………………………………………………………………………………………………………………………………
                                                   Premium




                                                                                                                                                                                                                           4
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                                                                                     6.                          2030 Non-owned Attached Trailer **
                                                                                                                 VIN: None Garaging Zip Code: 91801 Radius: More than 500 miles
                                                                                                                 Personal use: N Body type: 20
                                                                                                                           Liability
                                                   Liability                                                              Premium                                            Auto Total
                                                                                                                          ………………………………………………………………………………………………………………………………………………
                                                   Premium

                                                                                     7.                          2019 FREIGHTLINER CASCADIA 126 Stated Amount:
                                                                                                                 VIN: 3AKJHHDR3KSKF4882 Garaging Zip Code: 91791 Radius: More than 500 miles
                                                                                                                 Personal use: N Body type: Truck Tractor
                                                                                                                           Liability    UM/UIM        Med Pay
                                                   Liability                                                              Premium Premium Premium
                                                                                                                          ………………………………………………………………………………………………………………………………………………
                                                   Premium

                                                                                                                           Comp         Comp          Collision   Collision
                                                   Physical Damage                                                        Deductible Premium Deductible Premium              Auto Total
                                                                                                                          ………………………………………………………………………………………………………………………………………………
                                                   Premium

                                                                                     8.                          2030 Non-owned Attached Trailer **
                                                                                                                 VIN: None Garaging Zip Code: 91801 Radius: More than 500 miles
                                                                                                                 Personal use: N Body type: 20
                                                                                                                           Liability
                                                   Liability                                                              Premium                                            Auto Total
                                                                                                                          ………………………………………………………………………………………………………………………………………………
                                                   Premium

                                                                                     9.                          2016 FREIGHTLINER CASCADIA 125 Stated Amount:
                                                                                                                 VIN: 1FUJGLD57GLGS3949 Garaging Zip Code: 91791 Radius: More than 500 miles
                                                                                                                 Personal use: N Body type: Truck Tractor
                                                                                                                           Liability    UM/UIM        Med Pay
                                                   Liability                                                              Premium Premium Premium
                                                                                                                          ………………………………………………………………………………………………………………………………………………
                                                   Premium
                                                                                                                           Comp         Comp          Collision   Collision
                                                   Physical Damage                                                        Deductible Premium Deductible Premium              Auto Total
                                                                                                                          ………………………………………………………………………………………………………………………………………………
                                                   Premium

                                                                                     10.                         2030 Non-owned Attached Trailer **
                                                                                                                 VIN: None Garaging Zip Code: 91791 Radius: More than 500 miles
                                                                                                                 Personal use: N Body type: 20
                                                                                                                           Liability
                                                   Liability                                                              Premium                                            Auto Total
                                                                                                                          ………………………………………………………………………………………………………………………………………………
                                                   Premium
                                                   *A vehicle's stated amount
                                                   event of a total loss, the maximum amount payable is the lesser of the Stated Amount or Actual Cash Value, less deductible. Be sure
                                                   to check stated amount at every renewal in order to receive the best value from your Progressive Commercial Auto policy.
                                                   **Non-Owned trailer but only while attached to a listed power unit specifically described on the declarations page.

                                                   Loss Payee information
                                                                   ………………………………………………………………………………………………………………………………………………..
                                                                                                                  1.     Loss Payee              Auto 1            CROSSROADS EQUIPMENT LEASE & FINANCE, LLC
                                                                                                                                                                   9385 HAVEN AVE
                                                                                                                                                                   RANCHO CUCAMONGA, CA 91730
                                                                                                                                                                   2017 FRHT 125 (3AKJGLDRXHSHZ6762)




                                                                                                                                                                                                                                    4
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                                                   Additional Insured information
                                                                                                                         ………………………………………………………………………………………………………………………………………………..
                                                                                                                 1.      Additional Insured                ZYL EXPRESS INC
                                                                                                                                                           2419 E MARDINA ST
                                                                                                                                                           WEST COVINA, CA 91791

                                                   Important Notice
                                                   For your protection California law requires the following to appear on this form. Any person who knowingly presents false
                                                   or fraudulent information to obtain or amend insurance coverage or to make a claim for the payment of a loss is guilty of a
                                                   crime and may be subject to fines and confinement in state prison.

                                                   Company officers




                                                                                                                 President                                        Secretary




                                                                                                                 Form 6489 CA (05/21)
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     CALIFORNIA
     COMMERCIAL AUTO FORMS




     PLEASE READ YOUR POLICY AGREEMENT CAREFULLY.
     Provisions of this Agreement and its endorsements restrict coverage. Be certain you
     understand all of the coverage terms, the exclusions, and your rights and duties.

     All forms in the endorsement section do not automatically pertain to your policy.
     Please refer to your declarations page for form numbers associated with your policy.
     Only those endorsements whose form numbers appear on your declarations page
     apply to your policy. All other parts of the policy that have not been modified by an
     endorsement will remain unchanged.
     This booklet contains Form 6912 (02/19) and a section of optional endorse­ments.
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                                                      COMMERCIAL AUTO POLICY



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                                      AUTO POLICY                  Page 37 of 64 Page

   If you pay your premium when due, we will provide the insurance described in
   this policy.

                DUTIES IN THE EVENT OF AN ACCIDENT OR LOSS

   For coverage to apply under this policy, you or the person seeking coverage must
   promptly report each accident or loss even if you or the person seeking cover-
   age is not at fault. Refer to your policy documents for the claims phone number.

   You or the person seeking coverage must also obtain and provide us the names
   and addresses of all persons involved in the accident or loss, the names and ad-
   dresses of any witnesses, and the license plate numbers of the vehicles involved.

   If you or the person seeking coverage cannot identify the owner or operator of
   a vehicle involved in the accident, or if theft or vandalism has occurred, you or
   the person seeking coverage must notify the police within 24 hours or as soon
   as practicable. However, for purposes of uninsured motorist coverage when the
   owner or operator of a vehicle involved in the accident cannot be identified, you
   or the person seeking coverage must notify the police no more than 30 days after
   the accident.

   A person seeking coverage must:
   1.	cooperate with us in any matter concerning a claim or lawsuit;
   2.	provide any written proof of loss we may reasonably require;
   3.	allow us to take signed and recorded statements, including sworn state-
        ments and examinations under oath, which we may conduct outside the
        presence of you, a relative, or any person claiming coverage, and answer
        all reasonable questions we may ask as often as we may reasonably require;
   4.	promptly call us to notify us about any claim or lawsuit and send us any and
        all legal papers relating to any claim or lawsuit;
   5.	attend hearings and trials as we require;
   6.	submit to medical examinations at our expense by doctors we select as of-
        ten as we may reasonably require;
   7.	authorize us to obtain medical and other records;
   8.	take reasonable steps after a loss to protect the insured auto from further
        loss. We will pay reasonable expenses incurred in providing that protection.
        If failure to provide such protection results in further loss, any additional dam-
        ages will not be covered under this policy;
   9.	allow us to have access to an insured auto or other auto involved in an
        accident or loss and to have it inspected and appraised before its repair or
        disposal; and
   10.	authorize us access to your business or personal records as often as we
        may reasonably require.

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                                   DEFINITIONS                  Page 38 of 64 Page

   The words and phrases below, whether in the singular, plural or posses-
   sive, have the following special meanings when appearing in boldface type
   in this policy, and in endorsements issued in connection with this policy,
   unless specifically modified.

   1.	“Accident” means a sudden, unexpected and unintended event, or a con-
       tinuous or repeated exposure to that event, that causes bodily injury or
       property damage.

   2.	“Auto” means a land motor vehicle or trailer designed for travel on public
       roads, or any other land vehicle that is subject to a compulsory or financial
       responsibility law or other motor vehicle insurance law in the state or prov-
       ince where it is licensed or principally garaged. It does not include mobile
       equipment. Self-propelled vehicles with the following types of permanently
       attached equipment are autos, not mobile equipment:
       a.	equipment designed and used primarily for:
   		(i)	       snow removal;
   		      (ii)	road maintenance, but not construction or resurfacing;
   		(iii)	     street cleaning;
       b.	cherry pickers and similar devices mounted on automobile or truck chas-
           sis and used to raise or lower workers; and
       c.	air compressors, pumps, and generators, including spraying, welding,
           building cleaning, geophysical exploration, lighting, and well-servicing
           equipment.

   3.	“Bodily injury” means bodily harm, sickness, or disease, including death
       that results from bodily harm, sickness, or disease.

   4.	“Declarations” or “declarations page” means the document prepared by
       us listing your policy information, which may include the types of coverage
       you have elected, the limit for each coverage, the cost for each coverage, the
       specifically described autos covered by this policy, and the types of cover-
       age for each specifically described auto.

   5.	“Employee” includes a leased worker and a statutory employee. Employee
       does not include a temporary worker.

   6.	“Insured auto” or “your insured auto” means:
       a.	Any auto specifically described on the declarations page; or
       b.	An additional auto for Part I—Liability To Others and/or Part II—Damage
           To Your Auto on the date you become the owner if:
   		(i)	     you acquire the auto during the policy period shown on the declara-
               tions page;

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    		(ii)	        Document
             we insure            1 Filed
                       all autos owned      01/04/25
                                       by you that are usedPage  39business;
                                                            in your of 64 Page
    		 (iii)	no other insurance policy provides coverage for that auto; and
    		(iv)	  you tell us within 30 days after you acquire it that you want us to
              cover it for that coverage.

      If you add any coverage, increase your limits, or make any other chang-
    		
      es to this policy during the 30-day period after you acquire an additional
      auto, these changes to your policy will not become effective until after
      you ask us to add the coverage, increase your limits, or make such
      changes for the additional auto. We may charge premium for the ad-
      ditional auto from the date you acquire the auto.

    		With respect to Part I—Liability To Others, if we provide coverage for an
       additionally acquired auto in accordance with this paragraph b., we will
       provide the same coverage for such additional auto as we provide for
       any auto shown on the declarations page.

    		With respect to Part II—Damage To Your Auto, if we provide coverage for
       an auto you acquire in addition to any auto specifically described on the
       declarations page, and the additional auto is:
    		(i)	a private passenger auto, we will provide the broadest coverage
           we provide for any auto shown on the declarations page; or
           any auto other than a private passenger auto, and you have pur-
    		(ii)	
           chased Physical Damage coverage for at least one auto other than
           a private passenger auto, we will provide the broadest coverage
           for which the newly acquired auto is eligible.

      c.	Any replacement auto on the date you become the owner if:
    		(i)	      you acquire the auto during the policy period shown on the declara-
                 tions page;
    		(ii)	     the auto that you acquire replaces one specifically described on
                 the declarations page due to termination of your ownership of the
                 replaced auto or due to mechanical breakdown of, deterioration of,
                 or loss to the replaced auto that renders it permanently inoperable;
                 and
    		    (iii)	no other insurance policy provides coverage for that auto.
    		   If we provide coverage for a replacement auto, we will provide the same
          coverage for the replacement auto as we provide for the replaced auto.
          We will provide that coverage for a period of 30 days after you become
          the owner of such replacement auto. We will not provide any coverage
          after this 30-day period unless within this period you ask us to insure
          the replacement auto. If you add any coverage, increase your limits, or
          make any other changes to your policy during this 30-day period, these
          changes to your policy will not become effective until after you ask us to
          add the coverage, increase your limits, or make such changes.


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    7.	“Insured contract” means: 1        Filed 01/04/25        Page 40 of 64 Page
        a.	A lease of premises;
        b.	A sidetrack agreement;
        c.	Any easement or license agreement, except in connection with con-
            struction or demolition operations on or within 50 feet of a railroad;
        d.	An obligation, as required by ordinance, to indemnify a municipality, ex-
            cept in connection with work for a municipality;
        e.	That part of any other contract or agreement pertaining to your business
            (including an indemnification of a municipality in connection with work
            performed for a municipality) under which you assume the tort liability
            that is vicariously imposed on another for your negligence or that of
            your employees or agents; or
        f.	That part of any contract or agreement, entered into as part of your busi-
            ness, for the rental of an insured auto. However, such contract or agree-
            ment shall not be considered an insured contract to the extent that it
            obligates you or any of your employees to pay for property damage to
            any auto rented or leased to you or any of your employees.

    	An “insured contract” does not include that part of any contract or agree-
      ment:
      1.	That indemnifies a railroad for bodily injury or property damage aris-
          ing out of construction or demolition operations within 50 feet of any
          railroad property and affecting any railroad bridge or trestle, tracks, road-
          beds, tunnel, underpass, or crossing; or
      2.	That pertains to the loan, lease or rental of an auto to you or any of your
          employees, if the auto is loaned, leased or rented with a driver; or
      3.	That holds a person or organization engaged in the business of trans-
          porting property by auto for hire harmless for your use of an insured
          auto over a route or territory that person or organization is authorized to
          serve by public authority.

    8.	“Leased worker” means a person leased to you by a labor leasing firm un-
        der an agreement between you and the labor leasing firm to perform duties
        related to the conduct of your business. Leased worker does not include a
        temporary worker.

    9.	“Loss” means sudden, direct and accidental loss or damage.

    10.	“Mobile equipment” means any of the following types of land vehicles, in-
         cluding, but not limited to, any attached machinery or equipment:
         a.	Bulldozers, farm implements and machinery, forklifts, and other vehicles
             designed for use principally off public roads;
         b.	Vehicles you use solely on premises you own or rent and on accesses
             to public roads from these premises, unless specifically described on the
             declarations page and not defined as mobile equipment under other
             parts of this definition;
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       c.	Any vehicle Document
                       that travels on1crawler
                                          Filed   01/04/25
                                               treads,           Page
                                                       or that does      41 of licens-
                                                                    not require 64 Page
           ing in the state in which you reside or your business is licensed;
       d.	Vehicles, whether self-propelled or not, used primarily to provide mobility
           to permanently attached:
     		    (i)	Power cranes, shovels, loaders, diggers, or drills; or
     		 (ii)	   Road construction or resurfacing equipment, such as graders,
                 scrapers or rollers.
       e.	Vehicles not described in Paragraphs a., b., c., or d. above that are not
           self-propelled and are used primarily to provide mobility to permanently
           attached equipment of the following types:
     		    (i)	Air compressors, pumps, and generators, including spraying, welding,
                 building cleaning, geophysical exploration, lighting, and well-servicing
                 equipment; or
     		    (ii)	Cherry pickers and similar devices used to raise or lower workers.
       f.	Vehicles not described in Paragraphs a., b., c., or d. above that are self-
           propelled and used primarily for purposes other than transportation of
           persons or cargo.
     	However, mobile equipment does not include land vehicles that are subject
       to a compulsory or financial responsibility law or other motor vehicle insur-
       ance law in the state or province where it is licensed or principally garaged.

     11.	“Occupying” means in, on, entering or exiting.

     12.	“Personal vehicle sharing program” means a system or process, operated
          by a business, organization, network, group, or individual, that facilitates the
          sharing of private passenger autos for use by individuals, businesses, or
          other entities.

     13.	“Pollutants” means any solid, liquid, gaseous or thermal irritant or con-
          taminant, including smoke, vapor, soot, fumes, acids, alkalis, chemicals and
          waste. Waste includes materials to be recycled, reconditioned or reclaimed.

     14.	“Private passenger auto” means a land motor vehicle:
          a.	of the private passenger, pickup body, or cargo van type;
          b.	designed for operation principally upon public roads;
          c.	with at least four wheels; and
          d.	with a gross vehicle weight rating of 12,000 pounds or less, according to
              the manufacturer’s specifications.
     	However, private passenger auto does not include step-vans, parcel deliv-
          ery vans, or cargo cutaway vans or other vans with cabs separate from the
          cargo area.

     15.	“Property damage” means physical damage to, destruction of, or loss of use
          of, tangible property.

     16.	“Relative” means any person residing in the household in which the named
          insured resides who is related to the named insured by blood, marriage, or
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       adoption, including a ward or 1
                                     fosterFiled   01/04/25
                                            child. This term only Page
                                                                  applies42    of named
                                                                          if the  64 Page
         insured is a natural person.

     17.	“Temporary substitute auto” means any auto you do not own while used
          with the permission of its owner as a temporary substitute for an insured
          auto that has been withdrawn from normal use due to breakdown, repair,
          servicing, loss or destruction. However, temporary substitute auto does
          not include any auto available for the regular or frequent use of you, a rela-
          tive, or your employees unless that auto is insured under a separate policy
          of insurance that provides at least the minimum required limits of financial
          responsibility under the applicable state and federal laws.

     18.	“Temporary worker” means:
          a.	a person who is furnished to you to substitute for a permanent employ-
              ee on leave or to meet seasonal or short-term workload conditions; or
          b.	 a day laborer.

     19.	“Trailer” includes a semi-trailer and any piece of equipment used to convert
          a semi-trailer to a full trailer while it is attached to the semi-trailer.

     20.	“We”, “us” and “our” mean the company providing this insurance as shown
          on the declarations page.

     21.	“You”, “your” and “yours” refer to the named insured shown on the declara-
          tions page.

                             PART I—LIABILITY TO OTHERS

     INSURING AGREEMENT—LIABILITY TO OTHERS

     Subject to the Limits of Liability, if you pay the premium for liability coverage for
     the insured auto involved, we will pay damages, other than punitive or exem-
     plary damages, for bodily injury, property damage, and covered pollution
     cost or expense for which an insured becomes legally responsible because of
     an accident arising out of the ownership, maintenance or use of that insured
     auto. However, we will only pay for the covered pollution cost or expense if
     the same accident also caused bodily injury or property damage to which this
     insurance applies.

     We will settle or defend, at our option, any claim or lawsuit for damages covered
     by this Part I. We have no duty to settle or defend any lawsuit, or make any addi-
     tional payments, after the Limit of Liability for this coverage has been exhausted
     by payment of judgments or settlements.

     ADDITIONAL DEFINITIONS USED IN THIS PART ONLY

     A.	When used in Part I—Liability To Others, insured means:
            You with respect to an insured auto.
         1.	
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       2.	Any person Document
                      while using, 1    Filedpermission,
                                   with your  01/04/25 andPage
                                                           within 43
                                                                  the of 64 ofPage
                                                                      scope
          that permission, an insured auto you own, hire, or borrow except:
    		    (a)	Any person while he or she is working in a business of selling, leas-
               ing, repairing, parking, storing, servicing, delivering or testing autos,
               unless that business is yours and it was so represented in your ap-
               plication.
    		    (b)	Any person while he or she is moving property to or from an insured
               auto, other than one of your employees, partners (if you are a part-
               nership), members (if you are a limited liability company), or officers
               or directors (if you are a corporation).
    		 (c)	The owner or anyone else from whom the insured auto is leased,
               hired, or borrowed. However, this exception does not apply if the
               insured auto is specifically described on the declarations page.
    		 (d)	The employees or agents of an owner or anyone else from whom
               the insured auto is leased, hired or borrowed. However, this excep-
               tion does not apply if the insured auto is specifically described on
               the declarations page.
    		For purposes of this subsection A.2., an insured auto you own includes
          any auto specifically described on the declarations page.
      3.	Any other person or organization, but only with respect to the legal liability
          of that person or organization for acts or omissions of any person otherwise
          covered under this Part I—Liability To Others. If we make a filing or submit
          a certificate of insurance on your behalf with a regulatory or governmental
          agency, the term “insured” as used in such filing or certificate, and in any
          related endorsement, refers only to the person or organization named on
          such filing, certificate or endorsement.

    B.	When used in Part I—Liability To Others, insured auto also includes:
        1.	Trailers designed primarily for travel on public roads, while connected to
            your insured auto that is a power unit;
        2.	Mobile equipment while being carried or towed by an insured auto;
        3.	Any temporary substitute auto; and
        4.	 Mobile equipment that is:
    		a. owned by you;
    		b.	leased, hired, or borrowed by you and you have purchased either
                “Hired Auto Coverage” or “Any Automobile Legal Liability Coverage”
                from us; or
    		 c.	not owned, leased, hired, or borrowed by you and you have pur-
                chased either “Employer’s Non-Ownership Liability Coverage” or
                “Any Automobile Legal Liability Coverage” from us.
    		     However, mobile equipment meeting any of those three criteria will
            qualify only if at the time of loss it is being:
    		a.	      used in your business;
    		      b.	 operated on a public highway; and
    		      c.	operated in a state or province where it is subject to a compulsory or
                financial responsibility law or other motor vehicle insurance law.
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    C.	When used in Part          1 To Filed
                          I—Liability         01/04/25
                                        Others,           Page 44
                                                “covered pollution   of 64
                                                                   cost or ex-Page
        pense” means any cost or expense arising out of:
        1.	Any request, demand, order, or statutory or regulatory requirement; or
        2.	Any claim or suit by or on behalf of a governmental authority demanding
            that the insured or others test for, monitor, clean up, remove, contain,
            treat, detoxify or neutralize, or in any way respond to or assess the ef-
            fects of, pollutants.

    	Covered pollution cost or expense does not include any cost or expense
      arising out of the actual, alleged, or threatened discharge, dispersal, seep-
      age, migration, release, or escape of pollutants:
      a.	That are, or that are contained in any property that is:
    		 (i)	Being transported or towed by, handled, or handled for movement
                 into, onto, or from, the insured auto;
    		     (ii)	Otherwise in the course of transit by or on behalf of the insured; or
    		 (iii)	Being stored, disposed of, treated, or processed in or upon the in-
                 sured auto;
      b.	Before the pollutants or any property in which the pollutants are con-
           tained are moved from the place where they are accepted by the in-
           sured for movement into or onto the insured auto; or
      c.	After the pollutants or any property in which the pollutants are con-
           tained are moved from the insured auto to the place where they are
           finally delivered, disposed of, or abandoned by the insured.

    	The above Paragraph a. of this definition does not apply to fuels, lubricants,
      fluids, exhaust gasses, or other similar pollutants that are needed for or
      result from the normal electrical, hydraulic or mechanical functioning of the
      insured auto or its parts if:
      (1)	The pollutants escape, seep, migrate, or are discharged, dispersed or
           released directly from an insured auto part designed by its manufac-
           turer to hold, store, receive or dispose of such pollutants and is a part
           that would be required for the customary operation of the insured auto;
           and
      (2)	The bodily injury, property damage or covered pollution cost or ex-
           pense does not arise out of the operation of any equipment listed in
           Paragraphs b. and c. of the definition of auto.

    	The above Paragraphs b. and c. of this definition do not apply to accidents
      that occur away from premises owned by or rented to an insured with re-
      spect to pollutants not in or upon an insured auto if:
      (1)	The pollutants or any property in which the pollutants are contained
           are upset, overturned or damaged as a result of the maintenance or use
           of an insured auto; and
      (2)	The discharge, dispersal, release or escape of the pollutants is caused
           directly by such upset, overturn or damage.


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    ADDITIONAL PAYMENTS                       Filed 01/04/25          Page 45 of 64 Page

   In addition to our Limit of Liability, we will pay for an insured:

   1.	all expenses that we incur in the settlement of any claim or defense of any
       lawsuit;

   2.	interest accruing after entry of judgment on that part of the judgment that
       does not exceed our Limit of Liability. This payment does not apply if we
       have not been given notice of suit or the opportunity to defend an insured.
       Our payment, offer in writing, or deposit in court of that part of the judgment
       which does not exceed our Limit of Liability ends our duty to pay interest
       which accrues after the date of our payment, written offer, or deposit;

   3.	the premium on any appeal bond or attachment bond required in any law-
       suit we defend. We have no duty to purchase a bond in a principal amount
       exceeding our Limit of Liability, and we have no duty to apply for or furnish
       these bonds;

   4.	up to $2,000 for cost of bail bonds required because of an accident we
       cover. We have no duty to apply for or furnish these bonds;

   5.	reasonable expenses incurred by an insured at our request, including loss
       of earnings up to $250 a day; and

   6.	all court costs taxed against the insured in any “suit” against the insured we
       defend. However, these payments do not include attorneys’ fees or attorneys’
       expenses taxed against the insured.

   OUT-OF-STATE COVERAGE EXTENSION

   If an accident to which this Part I applies occurs in any state, territory, or pos-
   session of the United States of America, Puerto Rico, or any province or territory
   of Canada, other than the state in which an insured auto is principally garaged,
   and the state, province, territory or possession has:
   1.	a financial responsibility or similar law requiring limits of liability for bodily in-
        jury or property damage higher than the limits shown on the declarations
        page, this policy will provide the higher limit; or
   2.	a compulsory insurance or similar law requiring a non-resident to maintain
        insurance whenever the non-resident uses an auto in that state, province,
        territory or possession, this policy will provide the greater of:
        a.	the required minimum amounts and types of coverage; or
        b.	the Limits of Liability under this policy.

   This extension does not apply to the limit or limits specified by any law governing
   commercial carriers of passengers or property.
                                               9
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    We will not pay anyone more than1once
                                        Filed   01/04/25
                                          for the           Page
                                                  same elements     46 of
                                                                of loss   64 Page
                                                                        because
    of this extension.

    EXCLUSIONS—PLEASE READ THE FOLLOWING EXCLUSIONS CAREFULLY.
    IF AN EXCLUSION APPLIES, COVERAGE FOR AN ACCIDENT OR LOSS WILL
    NOT BE AFFORDED UNDER THIS PART I—LIABILITY TO OTHERS.

    Coverage under this Part I, including our duty to defend, does not apply to:

       Expected or Intended Injury
    1.	
    	Bodily injury or property damage either expected by or caused intention-
       ally by or at the direction of any insured.

       Contractual
    2.	
    	Any liability assumed by an insured under any contract or agreement, un-
       less the agreement is an insured contract that was executed prior to the
       occurrence of any bodily injury or property damage.

    	However, this exclusion does not apply to liability for damages that an in-
      sured would have in the absence of the contract or agreement.

       Worker’s Compensation
    3.	
    	Any obligation for which an insured or an insurer of that insured, even if one
       does not exist, may be held liable under workers’ compensation, unemploy-
       ment compensation, disability benefits law, or any similar law.

       Nuclear Energy Liability
    4.	
    	An accident for which any person is insured under nuclear energy liability
       insurance. This exclusion applies even if the limits of that insurance are ex-
       hausted.

       Employee Indemnification and Employer’s Liability
    5.	
       Bodily injury to:
       a.	An employee of any insured arising out of or within the course of:
    		(i)	      That employee’s employment by any insured; or
    		     (ii)	Performing duties related to the conduct of any insured’s business;
                 or
       b.	The spouse, child, parent, brother or sister of that employee as a con-
           sequence of Paragraph a. above.

        This exclusion applies:
        a.	Whether the insured may be liable as an employer or in any other ca-
            pacity; and
        b.	To any obligation to share damages with or repay someone else who
            must pay damages because of the injury.


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    	But this exclusion           1 toFiled
                         does not apply      01/04/25
                                        bodily              Page 47
                                               injury to a domestic   of 64 ifPage
                                                                    employee
        benefits are neither paid nor required to be provided under any workers’ com-
        pensation, disability benefits, or similar law, or to liability for bodily injury as-
        sumed by the insured under an insured contract. For the purposes of this
        policy, a domestic employee is a person engaged in household or domestic
        work performed principally in connection with a residence premises.

       Fellow Employee
    6.	
       Bodily injury to:
       a.	a fellow employee of an insured injured while within the course of their
           employment or while performing duties related to the conduct of your
           business.
       b.	the spouse, child, parent, brother, or sister of that fellow employee as a
           consequence of Paragraph a. above.

       Care, Custody or Control
    7.	
    	 Property damage to, towing or removal expense for, or covered pollution
       cost or expense involving, any property owned by, rented to, being trans-
       ported by, used by, or in the care, custody or control of any insured, includ-
       ing any motor vehicle operated or being towed. But this exclusion does not
       apply to liability assumed under a sidetrack agreement.

       Movement of Property by Mechanical Device
    8.	
    	 Bodily injury or property damage resulting from or caused by the move-
       ment of property by a mechanical device, other than a hand truck, not at-
       tached to an insured auto.

       Handling of Property
    9.	
    	 Bodily injury or property damage resulting from or caused by the handling
       of property:
       a.	before it is moved from the place where it is accepted by the insured for
           movement into or onto your insured auto; or
       b.	after it has been moved from your insured auto to the place where it is
           finally delivered by the insured.

        Pollution
    10.	
    	  Bodily injury or property damage resulting from or caused by the actual,
        alleged, or threatened discharge, dispersal, seepage, migration, release, or
        escape of any pollutants:
        a.	That are, or that are contained in any property that is:
    		 (i)	Being transported or towed by, handled, or handled for movement
                  into, onto, or from, the insured auto;
    		      (ii)	Otherwise in the course of transit by or on behalf of the insured; or
    		 (iii)	Being stored, disposed of, treated, or processed in or upon the in-
                  sured auto;

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       b.	Before the pollutants or 1any property
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                                                  in which the Page  48 ofare64con-Page
                                                               pollutants
             tained are moved from the place where they are accepted by the in-
             sured for movement into or onto the insured auto; or
         c.	After the pollutants or any property in which the pollutants are con-
             tained are moved from the insured auto to the place where they are
             finally delivered, disposed of, or abandoned by the insured.

     	The above Paragraph a. of this exclusion does not apply to fuels, lubricants,
       fluids, exhaust gasses, or other similar pollutants that are needed for or
       result from the normal electrical, hydraulic, or mechanical functioning of the
       insured auto or its parts if:
       (1)	The pollutants escape, seep, migrate, or are discharged, dispersed, or
            released directly from an insured auto part designed by its manufacturer
            to hold, store, receive, or dispose of such pollutants and is a part that
            would be required for the customary operation of the insured auto; and
       (2)	The bodily injury, property damage, or covered pollution cost or
            expense does not arise out of the operation of any equipment listed in
            Paragraphs b. and c. of the definition of auto.

     	The above Paragraphs b. and c. of this exclusion do not apply to accidents
       that occur away from premises owned by or rented to an insured with re-
       spect to pollutants not in or upon an insured auto if:
       (1)	The pollutants or any property in which the pollutants are contained
            are upset, overturned, or damaged as a result of the maintenance or use
            of an insured auto; and
       (2)	The discharge, dispersal, seepage, migration, release, or escape of the
            pollutants is caused directly by such upset, overturn, or damage.

         Racing
     11.	
     	  Bodily injury or property damage arising out of you or an insured par-
         ticipating in, or preparing for, a prearranged or organized racing, speed or
         demolition contest, stunting activity, or performance contest.

         War
     12.	
         Bodily injury or property damage arising directly or indirectly out of:
         a.	War, including undeclared or civil war;
         b.	Warlike action by a military force, including action in hindering or defend-
             ing against an actual or expected attack, by any government, sovereign
             or other authority using military personnel or other agents; or
         c.	Insurrection, rebellion, revolution, usurped power, or action taken by
             governmental authority in hindering or defending against any of these.

         Operations
     13.	
     	  Bodily injury, property damage, or covered pollution cost or expense
         arising out of the operation of:
         a.	any equipment listed in Paragraphs b. and c. of the definition of auto; or
                                             12
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       b.	machinery or equipment 1
                                  that isFiled  01/04/25
                                          on, attached         Page
                                                       to, or part of, a49  of vehicle
                                                                         land   64 Page
             that meets the definition of mobile equipment.

         Completed Operations
     14.	
     	  Bodily injury or property damage arising out of, or caused by, your work
         after that work has been completed or abandoned.

         For purposes of this exclusion, your work means:
         a.	Work or operations performed by you or on your behalf;
         b.	Materials, parts, or equipment furnished in connection with such work or
             operations; and
         c.	The delivery of liquids.

     	Your work includes warranties or representations made at any time with
       respect to the fitness, quality, durability, or performance of any of the items
       included in Paragraphs a., b., or c. above.

       Your work will be deemed completed at the earliest of the following times:
       a.	When all of the work called for in your contract has been completed.
       b.	When all of the work to be done at a particular site has been completed
           if your contract calls for work at more than one site.
       c.	When that part of the work done at a job site has been put to its intended
           use by any person or organization other than another contractor or sub-
           contractor working on the same project.
     	Work that may need service, maintenance, correction, repair, or replace-
       ment, but which is otherwise complete, will be treated as completed.

     15.	 Criminal Acts
     	Bodily injury or property damage caused by, or reasonably expected to
          result from, a criminal act or omission of an insured. This exclusion applies
          regardless of whether that insured is actually charged with, or convicted of,
          a crime. For purposes of this exclusion, criminal acts or omissions do not
          include traffic violations.

     16.	 Vehicle Sharing—Private Passenger Autos
     	Bodily injury or property damage arising out of the use of an insured
          auto that is a private passenger auto while being used in connection with
          a personal vehicle sharing program. This exclusion does not apply to the
          operation of an insured auto by you.

     LIMIT OF LIABILITY

     We will pay no more than the Limit of Liability shown on the declarations page
     for this coverage for the insured auto involved in the accident regardless of:
          1.	the number of premiums paid;
          2.	the number of insured autos or trailers shown on the declarations page;
                                            13
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       3.	the number Document      1 by
                      of policies issued Filed
                                            us; 01/04/25            Page 50 of 64 Page
         4.	the number of vehicles or insureds involved in an accident; or
         5.	the number of claims or lawsuits arising out of an accident;

     subject to the following:

        Coverage Required by Filings
     1.	

       If we have filed a certificate of insurance on your behalf with any regulatory
        or governmental agency, and:
        (i)	we are required to pay any judgment entered against you; or
             we agree to settle a claim or lawsuit;
        (ii)	
     	for bodily injury, property damage, or covered pollution cost or ex-
        pense arising out of an accident or loss otherwise not covered under the
        terms of this policy solely because of such certificate of insurance, we will be
        obligated to pay no more than the minimum amount required by that agency
        or applicable law. If any payment is based solely on such certificate, you
        must reimburse us in full for our payment, including legal fees and costs we
        incurred, whether the payment is made as a result of judgment or settlement.

        Combined Bodily Injury and Property Damage Limits
     2.	

     	Subject to the terms of Section 1 above, if your declarations page indicates
       that combined bodily injury and property damage limits apply for “each
       accident” or “combined single limit” applies, the most we will pay for the ag-
       gregate of all damages and covered pollution cost or expense combined,
       resulting from any one accident, is the combined liability insurance limit
       shown on the declarations page for the insured auto involved in the ac-
       cident.

        Separate Bodily Injury Liability and Property Damage Liability Limits
     3.	

     	Subject to the terms of Section 1 above, if your declarations page indicates
       that separate bodily injury liability and property damage liability limits apply:

         a.	The “each person” bodily injury liability limit listed on the declarations
             page for the insured auto involved in the accident is the maximum we
             will pay for bodily injury sustained by any one person in any one ac-
             cident, and that “each person” maximum limit will apply to the aggregate
             of claims made for such bodily injury and any and all claims derived
             from such bodily injury, including, but not limited to, loss of society, loss
             of companionship, loss of services, loss of consortium, and wrongful
             death.
         b.	Subject to the bodily injury liability limit for “each person”, the “each ac-
             cident” bodily injury liability limit listed on the declarations page for the
             insured auto involved in the accident is the maximum we will pay for
                                              14
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          bodily injury sustained 1    Filed
                                  by two     01/04/25
                                         or more persons inPage  51 accident,
                                                            any one of 64 Page
            including all derivative claims which include, but are not limited to, loss
            of society, loss of companionship, loss of services, loss of consortium,
            and wrongful death.
        c.	The “each accident” property damage liability limit listed on the decla-
            rations page for the insured auto involved in the accident is the maxi-
            mum we will pay for the aggregate of all property damage and covered
            pollution cost or expense combined, sustained in any one accident.

    For the purpose of determining our Limit of Liability under Sections 1., 2., and
    3. above, all bodily injury, property damage, and covered pollution cost or
    expense, resulting from continuous or repeated exposure to substantially the
    same event, shall be considered as resulting from one accident.

    An insured auto and any trailer or trailers attached thereto shall be deemed to
    be one auto with respect to our Limit of Liability.

    When coverage is afforded for an accident involving an insured auto that, at
    the time of loss:
         a.	 is a trailer specifically described on the declarations page; and
         b.	is attached to any power unit that is not an insured auto specifically
              described on the declarations page;
    the maximum amount we will pay will be limited to the lesser of an amount not
    to exceed the applicable compulsory or financial responsibility law limits of the
    state identified in your address as shown on the declarations page or the Limit
    of Liability shown on the declarations page.

    Any amount payable under Part I—Liability To Others to or for an injured person
    will be reduced by any payment made to that person under any Uninsured Motor-
    ist Coverage, Underinsured Motorist Coverage, Personal Injury Protection Cover-
    age, or Medical Payments Coverage provided by this policy.

                          PART II—DAMAGE TO YOUR AUTO

    INSURING AGREEMENT—COLLISION COVERAGE

    Subject to the Limits of Liability, if you pay the premium for Collision Coverage,
    we will pay for loss to your insured auto and its permanently attached equip-
    ment when it collides with another object or overturns.

    INSURING AGREEMENT—COMPREHENSIVE COVERAGE

    Subject to the Limits of Liability, if you pay the premium for Comprehensive Cov-
    erage, we will pay for loss to your insured auto and its permanently attached
    equipment from any cause other than those covered under Collision Coverage.


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    Any loss caused byDocument       1 objects,
                       missiles, falling Filed 01/04/25           Page
                                                fire, theft, collision   52anofanimal,
                                                                       with     64 Page
     or accidental glass breakage shall be deemed a Comprehensive loss. However,
     you have the option of having glass breakage caused by a covered auto’s colli-
     sion or overturn considered a loss under Collision Coverage.

     INSURING AGREEMENT—FIRE AND THEFT WITH COMBINED
     ADDITIONAL COVERAGE (CAC)

     Subject to the Limits of Liability, if you pay the premium for Fire and Theft with
     Combined Additional Coverage (CAC), we will pay for loss to your insured auto
     and its permanently attached equipment caused by:

     1.	fire, lightning or explosion;
     2.	theft;
     3.	windstorm or hail;
     4.	earthquake;
     5.	flood or rising water;
     6.	malicious mischief or vandalism;
     7.	the stranding, sinking, burning, collision, or derailment of any conveyance in
         or upon which your insured auto is being transported; or
     8.	collision with a bird or animal.

     No losses other than those specifically described above will be covered under
     Part II of this policy.

     ADDITIONAL COVERAGE

        Transportation Expenses
     1.	

     	We will pay up to $30 per day, up to a maximum of $900, for temporary
       transportation expenses incurred by you because of the theft of an insured
       auto that is a private passenger auto. This coverage applies only to those
       insured autos for which you carry Comprehensive Coverage. We will pay
       for temporary transportation expenses incurred during the period beginning
       48 hours after you report the theft to us, and ending when the insured auto
       is returned to use, or we pay for its loss.

     2.	Coverage for Temporary Substitute Autos

     	If a temporary substitute auto is involved in a loss, we will provide the
       same coverage and deductible that would have applied to the insured auto
       for which it is a substitute. The most we will pay for loss to a temporary sub-
       stitute auto is the lesser of the Actual Cash Value at the time of loss or the
       cost of repairing or replacing the damaged or stolen property with like kind
       and quality, less the applicable deductible.


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       Pet Injury Coverage
    3.	                                    Filed 01/04/25         Page 53 of 64 Page

    	If you have purchased Collision Coverage for at least one insured auto
      listed on the declarations page, Pet Injury Coverage is included in your
      policy.

        Insuring Agreement

    	If a pet sustains injury or death while inside an insured auto at the time of a
      loss covered under Collision, Comprehensive, or Fire & Theft with Combined
      Additional Coverage, we will pay:
      1.	for reasonable and customary veterinary fees incurred by you or the
           owner of the pet if the pet is injured in, or as a direct result of, the cov-
           ered loss; or
      2.	 a death benefit if the pet dies in, or as a direct result of, the covered loss.

    	In the event of a covered loss due to the theft of an insured auto, we will
      provide the death benefit provided the pet is not recovered.

        Limits of Liability

        The following additional Limits of Liability apply to Pet Injury Coverage:
        1.	The most we will pay for all damages in any one loss is a total of $1,000
            regardless of the number of pets involved.
        2.	If the pet dies in, or as a direct result of, a covered loss, we will provide
            a death benefit of $1,000, less any payment we made toward veterinary
            expenses for the pet.
        3.	 No deductible shall apply to this coverage.

    ADDITIONAL PAYMENTS

    If you have paid the premium for Comprehensive Coverage, Collision Coverage,
    or Fire and Theft with Combined Additional Coverage, then in addition to our
    Limit of Liability, we will pay:

    1.	All reasonable expenses necessary to return a stolen insured auto to you,
        unless we determine the auto to be a total loss.
    2.	All reasonable expenses necessary to remove an insured auto from the site
        of an accident or loss and transport it to a repair facility.

    ADDITIONAL DEFINITIONS USED IN THIS PART ONLY

    When used in Part II—Damage To Your Auto:

    1.	“Finance agreement” means a written lease or loan contract, entered into
        as a part of your business, pertaining to the lease or purchase by you of an
                                             17
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       insured auto, and subject to 1a valid
                                          Filed  01/04/25
                                             promissory note or Page
                                                                written54 of 64ob-Page
                                                                       payment
         ligation contained in a lease, and security agreement or other written agree-
         ment establishing a security interest, executed concurrently with a purchase
         or lease of the insured auto that is commensurate with fair market value.

     2.	“Permanently attached equipment” or PAE means equipment and devices
         that are permanently installed or attached to your insured auto. Perma-
         nently attached equipment also includes:
         a.	accessories designed to work as part of the equipment or devices;
         b.	 load securing equipment and devices; and
         c.	 custom paint or decals.

     3.	“Pet” means a dog or cat occupying an insured auto with your express or
         implied consent.

     EXCLUSIONS—PLEASE READ THE FOLLOWING EXCLUSIONS CAREFUL-
     LY. IF AN EXCLUSION APPLIES, COVERAGE FOR AN ACCIDENT OR LOSS
     WILL NOT BE AFFORDED UNDER THIS PART II—DAMAGE TO YOUR AUTO.

        We will not pay for loss caused by or resulting from any of the following. Such
     1.	
        loss is excluded regardless of any other cause or event that contributes con-
        currently or in any sequence to the loss.
        a.	 War or Military Action
     		     (1)	war, including undeclared or civil war;
     		 (2)	warlike action by a military force, including action in hindering or
                 defending against an actual or expected attack, by any government,
                 sovereign or other authority using military personnel or agents;
     		 (3)	insurrection, rebellion, revolution, usurped power, or action taken by
                 governmental authority in hindering or defending against any of these.
        b.	Nuclear Hazard
     		     (1)	the explosion of any weapon employing atomic fission or fusion; or
     		     (2)	nuclear reaction or radiation, or radioactive contamination, however
                 caused.

        We will not pay for loss to any sound equipment, video equipment, or trans-
     2.	
        mitting equipment not permanently installed in your insured auto, or to
        tapes, records, compact discs, DVDs, or similar items used with sound or
        video equipment.

        We will not pay for loss to radar detectors or to any other equipment or device
     3.	
        designed or used to detect speed measuring equipment, or to any equipment
        designed or used to jam or disrupt any speed measuring equipment.

        We will not pay for loss due and confined to:
     4.	
        a.	wear and tear, freezing, mechanical or electrical breakdown, or struc-
            tural failure caused by material fatigue, decomposition, or corrosion.
                                            18
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       b.	 blowouts, punctures,      1 Filed
                                flat spots,       01/04/25
                                            or other          Page
                                                     road damage       55 of 64 Page
                                                                 to tires.
     	But, coverage does apply if the damage is the result of other loss covered
       by the policy.

        We will not pay for loss incurred while your insured auto is used in any
     5.	
        illicit trade or transportation, or due to your insured auto’s destruction or
        confiscation by governmental or civil authorities because you, or, if you are
        a natural person, any relative, engaged in illegal activities.

        We will not pay for loss caused by you or an insured participating in or pre-
     6.	
        paring for a prearranged or organized racing, speed or demolition contest,
        stunting activity or performance contest.

        We will not pay for loss to an insured auto for diminution of value.
     7.	

     8.	If we pay your financial obligation under a finance agreement, we will not
         pay:
         a.	Overdue finance agreement payments including any type of late fees or
             penalties;
         b.	Financial penalties imposed under a finance agreement for excessive
             use, abnormal wear and tear, or high mileage;
         c.	Security deposits not normally refunded by the lessor or lender;
         d.	Cost of finance agreement related products such as, but not limited to,
             Credit Life Insurance, Health, Accident or Disability insurance purchased
             by you;
         e.	Carryover balances from previous finance agreements or other
             amounts not associated with the insured auto; or
         f.	Unpaid principal included in the outstanding finance agreement bal-
             ance that was not used by you to purchase the insured auto.

        We will not pay for loss to an insured auto while being used in connection
     9.	
        with a personal vehicle sharing program. This exclusion does not apply to
        the operation of an insured auto by you.

     LIMIT OF LIABILITY

     1.	If the declarations page shows actual cash value for the insured auto, then
         the most we will pay for loss to your insured auto is the least of:
         a.	the actual cash value of the stolen or damaged property at the time of
              loss;
         b.	the amount necessary to replace the stolen or damaged property with
              other of like kind and quality; or
         c.	the amount necessary to repair the damaged property to its pre-loss
              physical condition; however, if we determine that the insured auto is a
              total loss, we may, at our option, pay the lesser of the actual cash value,
              or the cost to replace, rather than repair, the insured auto.
                                             19
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    	Permanently attached     1 Filed
                           equipment    01/04/25
                                     (PAE) is covered toPage   56 shown
                                                         the limit of 64 onPage
        the declarations page. This limit includes transfer of undamaged PAE to
        another insured auto, but will not increase the PAE limit shown on the dec-
        larations page.

    2.	If the declarations page shows Stated Amount for the insured auto, then
        the most we will pay for loss to your insured auto is the least of:
        a.	the actual cash value of the stolen or damaged property at the time of
             loss;
        b.	the amount necessary to replace the stolen or damaged property with
             other of like kind and quality;
        c.	the amount necessary to repair the damaged property to its pre-loss
             physical condition; however, if we determine that the insured auto is a
             total loss, we may, at our option, pay the lesser of the actual cash value,
             Stated Amount, or the cost to replace, rather than repair, the insured
             auto; or
        d.	the applicable Stated Amount of the property as shown on the declara-
             tions page.

    	However, if there is a finance agreement in place for the insured auto, the
      most we will pay for a total loss where the outstanding financial obligation
      under a finance agreement for the insured auto at the time of the loss is:
      a.	greater than the actual cash value of the insured auto at the time of
           loss; and
      b.	the Stated Amount shown on the declarations page is greater than the
           actual cash value of the insured auto at the time of loss;
      is the lesser of:
      a.	the applicable Stated Amount of the insured auto as shown on the dec-
           larations page; or
      b.	the outstanding financial obligation under a finance agreement for the
           insured auto at the time of the loss.

    	PAE is included in the value of the insured auto, but only to the extent the
      value of the equipment has been included in the Stated Amount shown on
      the declarations page. The transfer of undamaged PAE to another insured
      auto will be covered if the aggregate of all damage and cost to move is within
      the Stated Amount shown on the declarations page.

    3.	Payments for loss covered under Collision Coverage, Comprehensive Cov-
        erage, or Fire and Theft with Combined Additional Coverage are subject to
        the following provisions:
        a.	in determining the amount necessary to repair damaged property to its
             pre-loss physical condition, the amount to be paid by us:
    		       (i)	shall not exceed the prevailing competitive labor rates charged in the
                  area where the property is to be repaired, and the cost of repair or

                                            20
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             replacement         1 equipment,
                         parts and   Filed 01/04/25      Page
                                              as reasonably      57 of 64
                                                            determined      Page
                                                                       by us;
               and
    		   (ii)	will be based on the cost of repair or replacement parts and equip-
               ment which may be new, reconditioned, remanufactured, or used,
               including, but not limited to:
    			        (a)	original manufacturer parts or equipment; and
    			        (b)	non-original manufacturer parts or equipment;
     b.	the actual cash value is determined by the market value, age and condi-
         tion of the auto at the time the loss occurs; and
     c.	duplicate recovery for the same elements of damages is not permitted.

    4.	To determine the amount necessary to repair the damaged property to its
        pre-loss physical condition as referred to in Paragraph 1.c., the total cost of
        necessary repairs will be reduced by:
        a.	the cost of labor, parts and materials necessary to repair or replace
            damage, deterioration, defects, or wear and tear on exterior body parts,
            windshields and other glass, wheels, and paint, that existed prior to the
            accident and that is eliminated as a result of the repair or replacement
            of property damaged in the loss. This adjustment for physical condition
            includes, but is not limited to, broken, cracked or missing parts, rust,
            dents, scrapes, gouges, and peeling paint;
        b.	an amount for depreciation (also referred to as betterment) that repre-
            sents a portion of the cost of mechanical parts (parts that wear out over
            time and have a useful life typically shorter than the life of the auto as a
            whole) that are installed as replacements for existing mechanical parts
            that were defective, inoperable or nonfunctional prior to the accident,
            which we deem necessary to replace in the course of repair; and
        c.	an amount for depreciation (also referred to as betterment) on high-
            wear parts that have a measurable life, such as tires, batteries, engine
            or transmission, determined by the proportional increase in the useful
            life of the replacement part when compared to the replaced part. For
            example, if we replace a 24-month old battery that had a manufacturer’s
            rated life of 60 months with a new 60-month rated battery, our payment
            for the battery is reduced by 40 percent and you are responsible to pay
            that 40 percent portion of the cost of the battery.

    DEDUCTIBLE

    For each loss that qualifies for coverage under Comprehensive, Collision, or
    Fire and Theft with Combined Additional Coverage, the deductible shown on the
    declarations page for the insured auto will be applied. A single deductible will
    be applied to any loss. In the event there are different deductible amounts appli-
    cable to the loss, the higher deductible will be applied. In all events, the deduct-
    ible will be applied against the limit of liability. If a loss involves another coverage
    added by endorsement to this policy, only one deductible will apply to the entire
    loss event.
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    If your insured autoDocument      1 auto
                         is an additional Filed 01/04/25
                                              that            Page 58
                                                   you have requested    of 64
                                                                      to be addedPage
     to your policy within 30 days of your acquisition of the auto, and no deductible
     has been designated for the additional auto prior to the loss, then:
     1.	when the insured auto is a private passenger auto, we will apply the low-
         est deductible listed for any one auto listed on the declarations page; or
     2.	when the insured auto is an auto other than a private passenger auto, we
         will apply the highest deductible listed for any one auto listed on the declara-
         tions page.

     No deductible will apply to a loss to window glass when the glass is repaired
     instead of replaced.

     No deductible will apply to payments made under the Additional Payments sec-
     tion for expenses necessary to return a stolen insured auto to you.

     SALVAGE

     If we pay the actual cash value of your insured auto less the deductible, or if
     we pay the amount necessary to replace your insured auto less the deductible,
     we are entitled to all salvage. If your insured auto is a total loss and we pay
     the applicable Limit of Liability or Stated Amount as shown on the declarations
     page less the deductible, we are entitled to the same percent of salvage as our
     payment bears to the actual cash value of your insured auto.

     NO BENEFIT TO BAILEE

     No bailee or carrier shall benefit, directly or indirectly, from this Part II—Damage
     To Your Auto.

     APPRAISAL

     If we cannot agree with you on the amount of your loss, then you or we may
     demand an appraisal of the loss. Each party shall appoint a competent and dis-
     interested appraiser. If the appraisers agree on the amount of the loss, they shall
     submit a written report to us and this shall be deemed to be the amount of the loss.

     If the appraisers cannot agree on the amount of the loss within a reasonable
     time, they shall then choose a competent, impartial umpire, provided that if they
     cannot agree on an umpire within 15 days, either you or we may petition a judge
     of a court having jurisdiction to choose an umpire. The disagreement of the ap-
     praisers shall then be submitted to the umpire. Subject to the provisions of the
     policy, a written agreement signed by both appraisers or by one appraiser and
     the umpire will be the amount of the loss.

     You must pay your fees and expenses and those of your appraiser. We will pay
     our fees and expenses and those of our appraiser. All other expenses of the
                                             22
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    appraisal, including Document    1 umpire
                         payment of the Filed if01/04/25     Pagewill
                                                 one is necessary, 59be
                                                                      of shared
                                                                         64 Page
    equally by you and us.

    By agreeing to an appraisal, we do not waive any of our rights under any other
    part of this policy, including our right to deny the claim.

    PAYMENT OF LOSS

    At our option, we may pay the loss in money, or repair or replace the damaged
    or stolen property. We may, at any time before the loss is paid or the property is
    replaced, return, at our expense, any stolen property either to you or to the ad-
    dress shown on the declarations page, with payment for the resulting damage
    less any applicable deductibles. We may keep all or part of the property at the
    agreed or appraised value, but there shall be no abandonment to us.

    We may make payment for a loss either to you or the owner of the property.
    Payment for a loss is required only if you have fully complied with the terms of
    this policy.

    You must convey title to and possession of the damaged, destroyed, or stolen
    property to us if we pay the actual cash value of your insured auto less the
    deductible or if we pay the amount necessary to replace your insured auto less
    the deductible.

    LOSS PAYEE AGREEMENT

    We will pay the Loss Payee named in the policy for loss to your insured auto,
    as the interest of the Loss Payee may appear.

    This insurance covers the interest of the Loss Payee unless:
    1.	the loss results from fraudulent acts or omissions on your part; or
    2.	the loss is otherwise not covered under the terms of this policy.
    Cancellation, nonrenewal, termination, or voiding ends this agreement as to the
    Loss Payee’s interest.

    If we make any payment to the Loss Payee, we will obtain the Loss Payee’s
    rights against any other party.

                               GENERAL PROVISIONS

       Policy Period and Territory
    1.	

    	This policy applies only to accidents and losses occurring during the policy
      period shown on the declarations page and that occur within a state, territo-
      ry, or possession of the United States of America, or a province or territory of
      Canada, or while an insured auto is being transported between their ports.
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       Policy ChangesDocument 1
    2.	                                   Filed 01/04/25        Page 60 of 64 Page

    	This policy, your insurance application (which is made a part of this policy as
      if attached hereto), the declarations page, as amended, and endorsements
      to this policy issued by us contain all the agreements between you and us.
      Subject to the following, its terms may not be changed or waived except by
      an endorsement issued by us.

    	The premium for this policy is based on information we have received from
      you or other sources. You agree to cooperate with us in determining if this
      information is correct and complete, and you will notify us if it changes dur-
      ing the policy period. If this information is incorrect, incomplete, or changes
      during the policy period, you agree that we may adjust your premium during
      the policy period, or take other appropriate action.

    	Changes that may result in a premium adjustment include, but are not limited
      to, changes in:
      a.	the number, type, or use classification of insured autos;
      b.	operators using insured autos, their ages, driving histories, license sta-
           tus, state or country of license issuance, or marital status;
      c.	the place of principal garaging of any insured auto;
      d.	coverage, deductibles, or limits of liability; or
      e.	rating territory or discount eligibility.

    	If you ask us to delete a vehicle from this policy, no coverage will apply to
      that vehicle as of the date and time you ask us to delete it.

    	Nothing contained in this section will limit our right to void this policy for
      fraud, misrepresentation or concealment of any material fact by you, or any-
      one acting on your behalf.

       Other Insurance
    3.	

        a.	For any insured auto that is specifically described on the declarations
            page, this policy provides primary coverage. For an insured auto which
            is not specifically described on the declarations page, coverage under
            this policy will be excess over any and all other valid and collectible in-
            surance, whether primary, excess or contingent. However, if the insured
            auto that is specifically described on the declarations page is a trailer,
            this policy will be excess over any and all other valid and collectible in-
            surance, whether primary, excess or contingent, unless the trailer is
            attached to an insured auto that is a power unit you own and that is
            specifically described on the declarations page.

        b.	If coverage under more than one policy applies on the same basis, either
            excess or primary, we will pay only our proportionate share. Our pro-
                                            24
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          portionate share          1 Filed
                           is the proportion    01/04/25
                                             that              Page 61
                                                  the Limit of Liability     of 64
                                                                         of this policyPage
             bears to the total of the limits of all the Coverage Forms and policies
             covering on the same basis.

        Two or More Policies Issued By Us
     4.	

     	If any applicable insurance other than this policy is issued to you by us, or
       any company affiliated with us, and applies to the same accident or loss,
       the total amount payable among all such policies shall not exceed the limits
       provided by the single policy with the highest limits of liability.

        Legal Action Against Us
     5.	

     	We may not be sued unless there is full compliance with all the terms of this
       policy.

     	We may not be sued for payment under Part I—Liability To Others until the
       obligation of an insured under Part I to pay is finally determined either by
       judgment against that insured after actual trial or by written agreement of the
       insured, the claimant, and us. No one will have any right to make us a party
       to a lawsuit to determine the liability of an insured.

        Our Recovery Rights
     6.	

     	In the event of any payment under this policy, we are entitled to all the rights
       of recovery of the person or organization to whom payment was made. That
       person or organization must sign and deliver to us any legal papers relating
       to that recovery, do whatever else is necessary to help us exercise those
       rights, and do nothing after the loss or accident to harm our rights.

     	When a person has been paid damages by us under this policy and also
       recovers from another, the amount recovered from the other shall be held in
       trust for us and reimbursed to us to the extent of our payment, provided that
       the person to or on behalf of whom such payment is made is fully compen-
       sated for their loss.

     	In the event recovery has already been made from the responsible party, any
       rights to recovery by the person(s) claiming coverage under this policy no
       longer exist.

        Assignment
     7.	

     	Interest in this policy may not be assigned without our written consent. If the
       policyholder named on the declarations page is a natural person and that
       person dies, the policy will cover:
       a.	any other named insured on the policy;
                                            25
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       b.	the legal representative           01/04/25
                                        deceased          Page
                                                  person while     62 within
                                                               acting of 64 thePage
             scope of duty of a legal representative; and
         c.	any person having proper custody of your insured auto until a legal
             representative is appointed, but in no event for more than 30 days after
             the date of death.

        Waiver
     8.	

     	Notice to any agent or knowledge possessed by any agent or other person
       shall not change or effect a waiver on any portion of this policy nor prevent
       us from exercising any of our rights under this policy.

        Bankruptcy
     9.	

     	We are not relieved of any obligation under this policy because of the bank-
       ruptcy or insolvency of an insured.

         Inspection and Audit
     10.	

     	We shall have the right to inspect your property and operations at any time.
       This includes, but is not limited to, the right to inspect and audit the mainte-
       nance of any autos covered hereunder, the identity of your drivers and their
       driving records, and your radius of operations. In doing so, we do not war-
       rant that the property or operations are safe and healthful, or are in compli-
       ance with any law, rule or regulation.

     	We shall also have the right to examine and audit your books and records
       at any time during the policy period and any extensions of that period and
       within three years after termination of the policy, as far as they relate to the
       subject matter of this insurance.

         Fraud or Misrepresentation
     11.	

     	This policy was issued in reliance upon the information provided on your
       insurance application. We may void this policy at any time, including after the
       occurrence of an accident or loss, if you:
       1.	made incorrect statements or representations to us with regard to any
            material fact or circumstance;
       2.	concealed or misrepresented any material fact or circumstance; or
       3.	engaged in fraudulent conduct;
     	at the time of application. This means that we will not be liable for any claims
       or damages that would otherwise be covered.

     	Any changes we make at your request to this policy after inception will be
       made in reliance upon information you provide. If you:
       1.	make incorrect statements or representations to us with regard to any
           material fact or circumstance;
                                            26
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       2.	conceal or misrepresent 1 material
                                      Filed 01/04/25        Page 63
                                              fact or circumstance; or of 64 Page
      3.	engage in fraudulent conduct;
    	in connection with a requested change, we may void the policy or reform it as
      it existed immediately prior to the requested change. We may do this at any
      time, including after the occurrence of an accident or loss.

    	When we have not voided or reformed the policy, we may still deny coverage
      for an accident or loss if you, in connection with the policy application, or in
      connection with any requested change, have concealed or misrepresented
      any material fact or circumstance, or engaged in fraudulent conduct, and that
      concealment, misrepresentation, or fraudulent conduct was material to a risk
      we assumed.

    	We may deny coverage for an accident or loss if you or any other insured
      knowingly concealed or misrepresented any material fact or circumstance or
      engaged in fraudulent conduct in connection with the presentation or settle-
      ment of a claim. We reserve all rights to indemnity against a person commit-
      ting fraud or misrepresentation for all payments made and costs incurred.

        Liberalization
    12.	

    	If we make a change that broadens a coverage you have under this edition
      of your policy without additional charge, you will receive the broadened cov-
      erage. The broadened coverage applies on the date the coverage change
      is implemented in your state. This provision does not apply to a general
      program revision or our issuance of a subsequent edition of your policy.
      Otherwise, this policy can be changed only by endorsement issued by us.

        Severability
    13.	

    	Except with respect to the Limit of Liability, the coverage afforded applies
      separately to each insured who is seeking coverage or against whom a claim
      or lawsuit is brought.

        Settlement of Claims
    14.	

    	We may use estimating, appraisal, or injury evaluation systems to adjust
      claims under this policy and to determine the amount of damages, expens-
      es, or loss payable under this policy. Such systems may be developed by us
      or a third party and may include computer software, databases, and special-
      ized technology.

    15.	 Automatic Termination

    	If we or an affiliate offers to renew or continue this policy and you or your
      representative does not accept, this policy will automatically terminate at
                                           27
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       the end of the current        1 Filed
                              policy period      01/04/25
                                            at 12:01 a.m. FailurePage
                                                                  to pay64
                                                                         theof 64 Page
                                                                             required
         renewal or continuation premium when due will mean that you have not ac-
         cepted our offer.

     	If you obtain other insurance on an insured auto, any similar insurance
       provided by this policy will terminate as to that insured auto on the effective
       date and at the effective time of the other insurance.

     	If an insured auto is sold or transferred, any insurance provided by this
       policy will terminate as to that insured auto on the effective date of the sale
       or transfer.

     16.	 Duty to Report Changes

         You must promptly notify us when:
         1.	your mailing or business address changes;
         2.	the principal garaging address of an insured auto changes;
         3.	there is any change with respect to the persons who operate an insured
             auto;
         4.	there is a change in the driver’s license status, or state or country of
             license issuance, of any person using an insured auto; or
         5.	you acquire, sell, or dispose of autos.

         Terms of Policy Conformed to Statutes
     17.	

     	If any provision of this policy fails to conform to the statutes of the state
       listed on your application as your business location, the provision shall be
       deemed amended to conform to such statutes. All other provisions shall be
       given full force and effect. Any disputes as to the coverages provided or the
       provisions of this policy shall be governed by the law of the state listed on
       your application as your business location.

     Form 6912 (02/19)




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